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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
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SMARTE CARTE, INC.,                               )




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              Plaintiff,                          )
                                                  )   C.A. No. 13-93-RGA
       v.                                         )
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                                                  )   JURY TRIAL DEMANDED
BAGPORT AMERICA, LLC,

               Defendant.
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                   JOINT STIPULATION FOR ORDER OF DISMISSAL

       Plaintiff Smarte Carte, Inc. and Defendant bagport America, LLC (collectively the

"Parties") hereby stipulate, pursuant to Federal Rule of Civil Procedure 4l(a), to an order    I
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dismissing all claims and counterclaims between them in this action pursuant to a settlement
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agreement. The Parties respectfully request all claims and counterclaims be dismissed with

prejudice. Each party shall bear its own costs and attorneys' fees. The Court shall retain     l
jurisdiction to enforce the settlement agreement reached by the Parties.
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Respectfully submitted,                                                                           t
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Attorneys for Plaintif!Smarte Carte, Inc.


Dated: October 7, 2014
1168150/ 39859




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        IT IS SO ORDERED, this    L             day of October 2014.


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